   Case 3:22-cv-00365-D Document 9 Filed 04/08/22       Page 1 of 82 PageID 62



                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

SHANE CRIDER                              §
                                          §
                               Plaintiff, §
v.                                        §
                                          §          CIVIL ACTION NO: 3:22-cv-365
CP FUELS INC.,                            §
a domestic incorporated company,          §
                                          §
                             Defendant. §
                                          §

 APPENDIX IN SUPPORT OF DEFENDANT CP FUEL INC.’S MOTION TO DISMISS
                 AND REQUEST FOR ATTORNEYS FEES


Exhibit No.       Document Name                                       Page(s)

    A             Declaration of Sridhar Kommaraju                     2-4

    A-1           Bill/Invoices                                        5-7

    A-2           Photographs                                          8-17

    B             Prior Complaint (3:21-CV-1765)                       18-42

    C             Order Dismissing Prior Complaint                      43

    D             Examples of Similar Complaints                        44-82




                                       APP. 1
     Case 3:22-cv-00365-D Document 9 Filed 04/08/22                  Page 2 of 82 PageID 63


                           IN THE UNITED ST A TES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

    SHANE CRIDER                                     §
                                                     §
                                        Plaintiff,   §
    v.                                               §
                                                     §           CIVIL ACTION NO: 3:22-cv-365
    CP FUELS INC.,                                   §
    a domestic incorporated company,                 §
                                                     §
                                       Defendant.    §
                                                     §




         DECLARATION OF SRIDHAR KOMMARAJU IN SUPPORT OF DEFENDANT'S
                              MOTION TO DISMISS


I, Sridhar Kommaraju, declare and state as follows:

1.         I submit this declaration in the above-identified case in support of Defendant CP Fuels,

Inc. 's Motion to Dismiss. I make this declaration on personal, firsthand knowledge, and if called

as a witness, would testify competently thereto.

2.         I am the managing director of CP Fuels, Inc., and fully authorized to act on its behalf.

3.         On or about September 3, 2021, I was served with a complaint filed by Zachary Perkins,

alleging that the Chevron, located at 11237 Harry Hines Blvd., Dallas, Texas 75229 (hereinafter

the "Chevron Store") was not accessible to disabled individuals as required by the Americans

With Disabilities Act ("ADA").

4.         To ensure that the Chevron Store complied with the accessibility requirements of the

ADA, I, as part of my duties as managing director, began working with an ADA consultant as

follows. On or about September 25, 2021, CP Fuels, Inc. retained the services of AHSC,

Accessibility, Health and Safety Consulting, a consulting firm that provides its services to ensure

1
                                                APP. 2
     Case 3:22-cv-00365-D Document 9 Filed 04/08/22                Page 3 of 82 PageID 64


compliance with Texas Accessibility Standards (TAS) and the ADA. AHSC's website and

telephone number are as follows: https://ahsc.us/; 214-497-0926.

5.       On behalf of CP Fuels, Inc., I also hired APCO Construction Group to make all repairs in

accordance with the AHSC's recommendations to ensure that the Chevron Store complied with

TAS and ADA.

6.       Under the guidance of the consultant for AHSC, APCO Construction Group made the

following changes/repairs: installed upright signage for designated accessible parking spaces,

repainted the accessible parking spaces, installed upright van accessible signage, adjusted

restroom door pressure setting to close slowly, installed grab bars in the restroom, cut the sales

counter granite and lowered it in accordance with ADAAG specifications, added more ADA

accessible parking spots, and repaired and resurfaced the pavement as necessary. True and

correct copies of the invoice from AAPCO Construction Group, and a bill from Sign Express is

attached to this Declaration as Exhibit A-1.

7.      The above-mentioned changes/repairs to the exterior of the Chevron Store had been

completed or substantially completed on or before November 2021.

8.      Additional changes, in accordance with the recommendations of the consultant, were also

made, such as the placement of a sign on the exterior ice box for customers with disabilities,

indicating that ice bags were available for purchase inside; and placement of icebags in a freezer

inside the Chevron Store with a sign stating that the icebags were reserved for customers with

disabilities.

9.      Furthermore, the soap dispenser in the restroom was repaired to make it accessible.




2
                                               APP. 3
       Case 3:22-cv-00365-D Document 9 Filed 04/08/22               Page 4 of 82 PageID 65


I 0.      True and correct copies of photographs of the Chevron Store are attached to this

Declaration as Exhibit A-2. These attached photographs show that Plaintiff Shane Crider's

allegations of physical barriers to accessibility, as stated in Plaintiffs Complaint are not true.

11.       Upon information and belief, based upon the recommendations of the ADA consultant

from AHSC, the Chevron Store is in compliance with ADA accessibility standards.



          I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct, and that this declaration was executed in DA.LLA
                                                                              S County, Texas

on April 8, 2022.




                                                        Sridhar Kommaraju




3
                                               APP. 4
  Case 3:22-cv-00365-D Document 9 Filed 04/08/22                 Page 5 of 82 PageID 66



                 APCO CONSTRUCTION GROUP

                                                                                   9/30/21

CP Fuels
11237 Harry Hines
Dallas, TX 75229


Re: Store repairs as per ADA consultant recommendations


   1. Upright signage installed for designated ADA accessible parking spaces
   2. ADA accessible parking spaces repainted.
   3. Van accessible upright signage installed.
   4. Restroom door pressure setting adjusted to close slowly.
   5. Grab bars installed in the restroom.
   6. Sales Counter granite cut and lowered as per ADAAG specifications.
   7. Added more ADA accessible parking spots and pavement repaired/resurfaced where needed.




                                                                              TOTAL: $2,850.00




7610 N. Stemmons Frwy. Suite 410 Dallas, TX. 75247 PH: (214)- 682-5973 email: apko.inc@gmail.com

                                             APP. 5
Case 3:22-cv-00365-D Document 9 Filed 04/08/22   Page 6 of 82 PageID 67




                        SIGN EXPRESS

                           ___
                           (   FOLLOWING   )
                       11139 DENTON DRIVE
                        DALLAS, TX 75229
                         +1 972-484-6366




            Custom Item                            $35.00


            Subtotal                               $35.00

            Tax                       8.25%         $2.89



            Total                     $    37       .

                                                        89
                    VISA CREDIT                    $37.89
             VISA   3913
                    Cashier: Saleem


                  September 28, 2021 • 11:21 am
                   Payment ID: 31T9RQ6SYM7W6
                     Order ID: JDB728TG88Q98
                      Order Employee: Saleem

                                  APP. 6
Case 3:22-cv-00365-D Document 9 Filed 04/08/22   Page 7 of 82 PageID 68

                            Hide Details

                      Card: VISA CREDIT 3913
                   September 28, 2021, 11:21 AM
                            Method: EMV
                          Auth ID: 04597G
                    Reference ID: 127100520836
                     Authorizing Network: VISA
                       AID: A0000000031010
                    CVM: SIGNATURE VERIFIED

                    View the Privacy Policies for
                               Clover


                                 ••
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                                APP. 7
Case 3:22-cv-00365-D Document 9 Filed 04/08/22   Page 8 of 82 PageID 69




                                APP. 8
Case 3:22-cv-00365-D Document 9 Filed 04/08/22   Page 9 of 82 PageID 70




                                APP. 9
     Case 3:22-cv-00365-D Document 9 Filed 04/08/22   Page 10 of 82 PageID 71




 EN\£R<i
      NCY.
PUMPSHUT OFF
  SWITCH




                                     APP. 10
Case 3:22-cv-00365-D Document 9 Filed 04/08/22   Page 11 of 82 PageID 72




                                APP. 11
Case 3:22-cv-00365-D Document 9 Filed 04/08/22   Page 12 of 82 PageID 73




                      .c-




                                APP. 12
Case 3:22-cv-00365-D Document 9 Filed 04/08/22   Page 13 of 82 PageID 74




                                APP. 13
Case 3:22-cv-00365-D Document 9 Filed 04/08/22    Page 14 of 82 PageID 75




                      CUSTOMERSWITHDISABILITIES
                      PLEASE
                           PICKUPICEBAGS
                                       fR0M
                          INSIDE
                               THESTORE
                        ORASKFORASSISTANCE



                             I

                                APP. 14
Case 3:22-cv-00365-D Document 9 Filed 04/08/22   Page 15 of 82 PageID 76




                                APP. 15
Case 3:22-cv-00365-D Document 9 Filed 04/08/22   Page 16 of 82 PageID 77




                                APP. 16
Case 3:22-cv-00365-D Document 9 Filed 04/08/22   Page 17 of 82 PageID 78




                                APP. 17
  Case
   Case3:22-cv-00365-D
        3:21-cv-01765-D Document
                         Document91 Filed
                                     Filed04/08/22
                                           07/29/21 Page
                                                     Page18
                                                          1 of 19
                                                               82 PageID 1
                                                                         79



           IN THE UNITED STATES DISTRICT COURT
     FOR THE NORTHERN DISTRICT OF TEXAS IN THE DALLAS
                         DIVISION

 SHANE CRIDER,                    §
 individually,                    §
                                  §
    Plaintiff,                    §
                                  §
 V.                               §    Case No. 21-CV-1765
                                  §
 CP FUELS INC.,                   §
 a domestic incorporated company, §
                                  §
    Defendant.                    §
__________________________________________________________________

                                   COMPLAINT

       Plaintiff SHANE CRIDER (“CRIDER” or “Plaintiff”) hereby sues

Defendant, CP FUELS INC., individual, (hereinafter “Defendant”) pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”), and its

implementing regulations, the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

(“ADAAG”) and alleges as follows:

                        JURISDICTION AND PARTIES

      1.     This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C.

§ 12181 et seq., based upon Defendant, CP FUELS INC., failure to remove physical

barriers to access and violations of Title III of the ADA.
                                                                            Page 1 of 19

                                       APP. 18
   Case
    Case3:22-cv-00365-D
         3:21-cv-01765-D Document
                          Document91 Filed
                                      Filed04/08/22
                                            07/29/21 Page
                                                      Page19
                                                           2 of 19
                                                                82 PageID 2
                                                                          80



       2.     Venue is properly located in the NORTHERN DISTRICT OF TEXAS

pursuant to 28 U.S.C. § 1391(b) because venue lies in the judicial district of the

property situs or the judicial district in which a substantial part of the events or

omissions giving rise to Plaintiff’s claims occurred. The Defendant’s property is

located in and does business within this judicial district and all events giving rise to

this lawsuit occurred in this judicial district.

       3.     Plaintiff, SHANE CRIDER, is and has been at all times relevant to the

instant matter, a natural person residing in Texas and is sui juris.

       4.     Plaintiff is an individual with disabilities as defined by the ADA.

       5.     Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

       6.     Plaintiff uses a wheelchair for mobility purposes.

       7.     Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiff’s motivation to return to

a location, in part, stems from a desire to utilize ADA litigation to make his home

community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to create the requisite standing to confer jurisdiction upon this Court so an

injunction can be issued correcting the numerous ADA violations on the Subject


                                                                              Page 2 of 19

                                         APP. 19
  Case
   Case3:22-cv-00365-D
        3:21-cv-01765-D Document
                         Document91 Filed
                                     Filed04/08/22
                                           07/29/21 Page
                                                     Page20
                                                          3 of 19
                                                               82 PageID 3
                                                                         81



Property, including returning to the Subject Property as soon as it is accessible

(“Advocacy Purposes”).

      8.      Defendant, CP FUELS INC., is a domestic incorporated company

conducting business in the State of Texas and domicile within this judicial district.

                            FACTUAL ALLEGATIONS

      9.      On or about May of 2021, Plaintiff attempted to but was deterred from

patronizing, and/or gaining equal access as a disabled patron to the Chevron located

at 11237 Harry Hines Blvd, Dallas, TX 75229 (“Subject Facility”, “Subject

Property”).

      10.     CP FUELS INC., is the owner, lessor, and/or operator/lessee of the real

property and improvements that are the subject of this action, specifically the

shopping center and its attendant facilities, including vehicular parking and common

exterior paths of travel within the site identified by the Dallas County Assessor

parcel identification number 00000602434000000 (“Subject Facility”, “Subject

Property”).

      11.     Plaintiff lives within thirty (30) miles of the Subject Property. Because

the Subject Property is located on Harry Hines Blvd, Dallas thoroughfare that he

frequents routinely, he is routinely where the Subject Property is located and travels

in and about the immediate area of the Subject Property numerous times every

month, if not every week.


                                                                             Page 3 of 19

                                        APP. 20
  Case
   Case3:22-cv-00365-D
        3:21-cv-01765-D Document
                         Document91 Filed
                                     Filed04/08/22
                                           07/29/21 Page
                                                     Page21
                                                          4 of 19
                                                               82 PageID 4
                                                                         82



      12.     Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant, CP FUELS INC., is compelled to remove the physical barriers to access

and correct the ADA violations that exist at the Subject Property, including those set

forth in this Complaint.

      13.    Plaintiff has visited, i.e. attempted to patronize, the Subject Property on

multiple prior occasions, and at least once before as a patron and advocate for the

disabled. Plaintiff intends on revisiting the Subject Property within six months of the

filing of this Complaint or sooner, as soon as the barriers to access detailed in this

Complaint are removed. The purpose of the revisit is to be a regular patron, to

determine if and when the Subject Property is made accessible, and to maintain

standing for this lawsuit for Advocacy Purposes.

      14.    Plaintiff intends on revisiting the Subject Property to enjoy the same

experiences, goods, and services available to Defendant’s non-disabled patron as

well as for Advocacy Purposes, but does not intend to continue to repeatedly re-

expose himself to the ongoing barriers to equal access and engage in the futile

gesture of attempting to patronize the Subject Property, a business of public




                                                                              Page 4 of 19

                                       APP. 21
  Case
   Case3:22-cv-00365-D
        3:21-cv-01765-D Document
                         Document91 Filed
                                     Filed04/08/22
                                           07/29/21 Page
                                                     Page22
                                                          5 of 19
                                                               82 PageID 5
                                                                         83



accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

      15.    Plaintiff recently traveled to the Subject Property as a patron and as an

independent advocate for the disabled, encountered and/or observed the barriers to

access that are detailed in this Complaint, engaged those barriers where physically

possible, suffered legal harm and legal injury, and will continue to suffer such harm

and injury as a result of the illegal barriers to equal access present at the Subject

Property.

               COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                  (Against Defendant for ADA Violations)

      16.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      17.    The Subject Property is a public accommodation and service

establishment.

      18.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      19.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer



                                                                            Page 5 of 19

                                       APP. 22
  Case
   Case3:22-cv-00365-D
        3:21-cv-01765-D Document
                         Document91 Filed
                                     Filed04/08/22
                                           07/29/21 Page
                                                     Page23
                                                          6 of 19
                                                               82 PageID 6
                                                                         84



employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

     20.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

     21.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in his capacity as a patron at the Subject Property and as an

independent advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Subject Property that preclude and/or limit his

access to the Subject Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

     22.    Plaintiff intends to visit the Subject Property again in the very near

future as a patron and as an independent advocate for the disabled, in order to utilize

all of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered to able-bodied patrons of the Subject Property but will be unable

to fully do so because of his disability and the physical barriers to access, dangerous

conditions and ADA violations that exist at the Subject Property that preclude

and/or limit his access to the Subject Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those


                                                                             Page 6 of 19

                                       APP. 23
  Case
   Case3:22-cv-00365-D
        3:21-cv-01765-D Document
                         Document91 Filed
                                     Filed04/08/22
                                           07/29/21 Page
                                                     Page24
                                                          7 of 19
                                                               82 PageID 7
                                                                         85



barriers, conditions and ADA violations more specifically set forth in this

Complaint.

     23.     Defendant, CP FUELS INC., has discriminated against Plaintiff (and

others with disabilities) by denying his access to, and full and equal enjoyment of

the goods, services, facilities, privileges, advantages and/or accommodations of the

Subject Property, as prohibited by, and by failing to remove architectural barriers

as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

     24.     Defendant, CP FUELS INC., will continue to discriminate against

Plaintiff and others with disabilities unless and until CP FUELS INC., is compelled

to remove all physical barriers that exist at the Subject Property, including those

specifically set forth herein, and make the Subject Property accessible to and usable

by Plaintiff and other persons with disabilities.

     25.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and the full and equal enjoyment

of the goods, services, facilities, privileges, advantages and accommodations of the

Subject Property include, but are not limited to:

                       ACCESSIBLE ROUTES/PARKING
                                (Exterior)




                                                                           Page 7 of 19

                                       APP. 24
Case
 Case3:22-cv-00365-D
      3:21-cv-01765-D Document
                       Document91 Filed
                                   Filed04/08/22
                                         07/29/21 Page
                                                   Page25
                                                        8 of 19
                                                             82 PageID 8
                                                                       86



         a. The access aisle adjacent to the designated accessible
            space has a curb ramp projecting into it and/or has
            surfaces which are otherwise not level in all directions
            in violation of 28 CFR § 36.211, Section 4.6.3 of the
            1991 ADAAG and Section 502.4 of the 2010 ADAAG.
            These violations made it dangerous for Plaintiff to
            utilize the parking facility at the Subject Property and
            caused Plaintiff undue upset and loss of opportunity.


         b. The purported accessible aisles are not level in all
            directions and have areas of uneven, broken pavement
            because of Defendant’s history and practice of failing
            to inspect and maintain the parking surface in violation
            of 28 CFR § 36.211, Sections 4.5.1 and 4.6.3 of the
            1991 ADAAG and Sections 302 and 502.4 of the 2010
            ADAAG. This violation made it dangerous for Plaintiff
            to utilize the parking facility at the Subject Property
            and caused Plaintiff undue upset and loss of
            opportunity.


         c. The paint delineating the accessible parking spaces
            and access aisles is not being maintained so that it
            clearly marks the accessible parking location in
            violation of 28 CFR § 36.211, Section 4.6 of the 1991
            ADAAG, and Section 502.3.3 of the 2010 ADAAG.
            This violation made it dangerous for Plaintiff to utilize
            the parking facility at the Subject Property
            and caused Plaintiff undue upset and loss of
            opportunity.


         d. There is no visible upright signage (displaying the
            International Symbol of Accessibility) designating
            parking spaces as van parking in violation of Section
            4.6 of the 1991 ADAAG and Section 502 of the 2010
            ADAAG. This violation made it dangerous for Plaintiff
            to utilize the parking facility at the Subject Property


                                                                        Page 8 of 19

                                   APP. 25
Case
 Case3:22-cv-00365-D
      3:21-cv-01765-D Document
                       Document91 Filed
                                   Filed04/08/22
                                         07/29/21 Page
                                                   Page26
                                                        9 of 19
                                                             82 PageID 9
                                                                       87



            and caused Plaintiff undue upset and loss of
            opportunity.


         e. There is no van accessible parking identified as such
            with upright “Van Accessible” signage in violation of
            Section 4.6 of the 1991 ADAAG and Sections 208, 302
            and 502 of the 2010 ADAAG. This violation made it
            dangerous for Plaintiff to utilize the parking facility at
            the Subject Property and caused Plaintiff undue upset
            and loss of opportunity.


         f. There is no accessible route provided within the site
            from the public sidewalk which serves the facility.
            Violation: There is broken and cracked pavement
            within the purported accessible route from the
            entrance(s) of the subject facility to the
            public sidewalk in violation of Section 4.3.2 of the
            1991 ADAAG and Section 206.2.1 of the 2010
            ADAAG. This violation prevented equal access to the
            Subject Property and caused Plaintiff undue upset and
            loss of opportunity.


         g. The exterior bagged ice cooler positioned on the built-
            up storefront curb does not have enough level
            maneuvering clearance on the curb for a wheelchair
            user to gain access to the cooler’s outward swinging
            doors. Violation: There is not enough clear ground
            space for forward or side reach access to the bagged ice
            cooler doors in violation of Sections 4.2.5 and/or 4.2.6
            of the 1991 ADAAG and Section 306 of the 2010
            ADAAG. This violation made it impossible for
            Plaintiff to access the bagged ice cooler and in so doing
            made plaintiff feel isolated and separate from
            Defendant’s able-bodied patrons and suffer undue
            upset and loss of opportunity.



                                                                         Page 9 of 19

                                   APP. 26
Case 3:22-cv-00365-D
     3:21-cv-01765-D Document 9
                              1 Filed 04/08/22
                                      07/29/21       Page 27
                                                          10 of 82
                                                                19 PageID 88
                                                                          10




                                   INTERIOR


         h. The restrooms have door closers that cause the
            restroom doors to close too quickly. Violation: The
            sweep speed settings of the door closers for the
            accessible restrooms’ doors have not been maintained
            properly by Defendant which has caused the door
            closing speed to increase with time and use so that the
            time allowed to transition the door, from an open
            position of 90 degrees to a position of 12 degrees from
            the latch, is too brief to allow individuals with mobility
            impairments to enter and/or exit safely, independently
            and/or without difficulty in violation of Section 4.13.10
            of the 1991 ADAAG and Section 404.2.8 of the 2010
            ADAAG. This accessible feature is not being
            maintained by Defendant in violation of 28 CFR §
            36.211. These violations prevented access to Plaintiff
            equal to that of able-bodied individuals and caused
            Plaintiff undue upset and loss of opportunity.


         i. The pressure setting on the accessible restroom door
            closer has not been maintained properly by Defendant
            which has caused the pressure required to open/close
            the restroom door to increase with time and use such
            that the restroom door requires excessive force to open.
            Violation: The restroom door requires more than the
            maximum allowable opening force for an interior
            hinged door (5 foot pounds-force) in violation of
            Section 4.13.11 of the 1991 ADAAG and Section
            404.2.9 of the 2010 ADAAG Standards. This
            accessible feature is not being maintained by
            Defendant in violation of 28 CFR § 36.211. These
            violations prevented access to Plaintiff equal to that of
            able-bodied individuals and caused Plaintiff undue
            upset and loss of opportunity.



                                                                         Page 10 of 19

                                   APP. 27
Case 3:22-cv-00365-D
     3:21-cv-01765-D Document 9
                              1 Filed 04/08/22
                                      07/29/21       Page 28
                                                          11 of 82
                                                                19 PageID 89
                                                                          11



         j. The restroom soap dispenser is mounted for a forward
            reach but does not have enough unobstructed knee and
            toe clearance for equal access to wheelchair users in
            violation of Section 4.24 of the 1991 ADAAG and
            Section 306.3.3 of the 2010 ADAAG. This violation
            prevented access to the restroom facilities equal to that
            of able-bodied individuals and in so doing caused
            Plaintiff undue upset and loss of opportunity.


         k. The sales counter is too high for wheelchair users.
            Violation: The sales counter exceeds the maximum
            allowable height of 36 inches from the finish floor in
            violation of Section 7.2 of the 1991 ADAAG and
            Sections 227.3 and 904.4 of the 2010 ADAAG. This
            violation prevented access to Plaintiff equal to that of
            able-bodied individuals and caused Plaintiff undue
            upset and loss of opportunity.


         l. The plaintiff could not safely transfer from her
            wheelchair to the toilet because grab bars were not
            provided. Violation: ADA compliant grab bars are not
            provided in the restroom in violation of Sections
            4.16.4, 4.26 and Figure 29 of the ADAAG and Section
            604.5.2 of the 2010 ADA Standards, whose resolution
            is readily achievable. The plaintiff could not safely
            transfer from her wheelchair to the toilet because grab
            bars were not provided. Violation: ADA compliant
            grab bars are not provided in the restroom in violation
            of Sections 4.16.4, 4.26 and Figure 29 of the 1991
            ADAAG and Section 604.5.2 of the 2010 ADAAG.
            This violation made it difficult and dangerous for
            Plaintiff to transfer from her wheelchair to the toilet.


                      MAINTENANCE PRACTICES




                                                                        Page 11 of 19

                                   APP. 28
Case 3:22-cv-00365-D
     3:21-cv-01765-D Document 9
                              1 Filed 04/08/22
                                      07/29/21        Page 29
                                                           12 of 82
                                                                 19 PageID 90
                                                                           12



         e. Defendant has a practice of failing to maintain the
            accessible features of the facility, creating barriers to
            access for the Plaintiff, as set forth herein, in violation
            of 28 CFR § 36.211. This practice prevented access to
            the plaintiff equal to that of Defendant’s able-bodied
            customers causing Plaintiff loss of opportunity,
            anxiety, humiliation and/or embarrassment.

         f. Defendant has a practice of failing to maintain the
            accessible elements at the Subject Facility by
            neglecting its continuing duty to review, inspect, and
            discover transient accessible elements which by the
            nature of their design or placement, frequency of usage,
            exposure to weather and/or other factors, are prone to
            shift from compliant to noncompliant so that said
            elements may be discovered and remediated.
            Defendant failed and continues to fail to alter its
            inadequate maintenance practices to prevent future
            recurrence of noncompliance with dynamic accessible
            elements at the Subject Facility in violation of 28 CFR
            § 36.211, the 1991 ADAAG, and the 2010 ADAAG.
            These violations, as set forth hereinabove, made it
            impossible for Plaintiff to experience the same access
            to the goods, services, facilities, privileges, advantages
            and accommodations of the Subject Facility as
            Defendant’s able-bodied patrons and caused Plaintiff
            loss of opportunity, anxiety, embarrassment and/or
            humiliation.

         g. Defendant has failed to modify its discriminatory
            maintenance practices to ensure that, pursuant to its
            continuing duty under the ADA, the Subject Property
            remains readily accessible to and usable by disabled
            individuals, including Plaintiff, as set forth herein, in
            violation of 28 CFR § 36.302 and 36.211. This failure
            by Defendant prevented access to the plaintiff equal to
            that of Defendant’s able-bodied customers causing

                                                                          Page 12 of 19

                                    APP. 29
   Case 3:22-cv-00365-D
        3:21-cv-01765-D Document 9
                                 1 Filed 04/08/22
                                         07/29/21         Page 30
                                                               13 of 82
                                                                     19 PageID 91
                                                                               13



                Plaintiff loss of opportunity, anxiety, humiliation
                and/or embarrassment.

      26.    The discriminatory violations described above are not an exhaustive list

of the Defendant’s current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

due to the architectural barriers encountered. A complete list of the subject location’s

ADA violations affecting the Plaintiff as a wheelchair user, and the remedial

measures necessary to remove same, will require an on-site inspection by Plaintiff’s

representatives pursuant to Federal Rule of Civil Procedure 34. Once the Plaintiff

personally encounters discrimination, as alleged above, or learns of discriminatory

violations through expert findings of personal observation, he has actual notice that

the defendant does not intend to comply with the ADA.

      27.    The Defendant has a practice of failing to maintain the accessible

elements at the Subject Property by neglecting its continuing duty to review, inspect,

and discover transient accessible elements which by the nature of its design or

placement, frequency of usage, exposure to weather and/or other factors, are prone

to shift from compliant to noncompliant, so that said elements are discovered and

remediated. Defendant failed and continues to fail to alter its inadequate

maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and


                                                                             Page 13 of 19

                                        APP. 30
  Case 3:22-cv-00365-D
       3:21-cv-01765-D Document 9
                                1 Filed 04/08/22
                                        07/29/21         Page 31
                                                              14 of 82
                                                                    19 PageID 92
                                                                              14



36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,

as a wheelchair user, to experience the same access to the goods, services, facilities,

privileges, advantages and accommodations of the Subject Property as Defendant’s

able-bodied patrons.

      28.    Accessible elements at the Subject Property have been altered and/or

constructed since 2010.

      29.    The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the

2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of

the alleged violations set forth herein can be modified to comply with the 1991

ADAAG standards.

      30.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      31.    Each of the violations alleged herein is readily achievable to modify to

bring the Subject Property into compliance with the ADA.

      32.    Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the




                                                                            Page 14 of 19

                                       APP. 31
   Case 3:22-cv-00365-D
        3:21-cv-01765-D Document 9
                                 1 Filed 04/08/22
                                         07/29/21         Page 32
                                                               15 of 82
                                                                     19 PageID 93
                                                                               15



Subject Property, the structural design of the subject facility, and the straightforward

nature of the necessary modifications.

      33.    To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendant.

      34.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relative low cost of the

necessary modifications and the Defendant has the financial resources to make the

modifications, including the financial assistance made available to Defendant by the

government pursuant to Section 44 and/or Section 190 of the IRS Code.

      35.    By continuing to maintain and/or operate the Subject Property with

discriminatory conditions in violation of the ADA, Defendant contributes to

Plaintiff’s sense of isolation and segregation and deprives Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

available to able bodied individuals of the general public.

      36.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 CFR


                                                                             Page 15 of 19

                                         APP. 32
  Case 3:22-cv-00365-D
       3:21-cv-01765-D Document 9
                                1 Filed 04/08/22
                                        07/29/21          Page 33
                                                               16 of 82
                                                                     19 PageID 94
                                                                               16



36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the

maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

CFR 36.401, then the Defendant’s facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed

to comply with this mandate.

      37.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant, CP FUELS INC., is required to remove the physical

barriers, dangerous conditions and ADA violations that exist at the Subject Property,

including those alleged herein. Considering the balance of hardships between the

Plaintiff and Defendant, a remedy in equity is warranted.

      38.    Plaintiff’s requested relief serves the public interest.

      39.    Plaintiff’s counsel is entitled to recover its reasonable attorneys’ fees

and costs of litigation from Defendant, CP FUELS INC., pursuant to 42 U.S.C. §§

12188, 12205 and 28 CFR 36.505. Plaintiff will be denied full and equal access to




                                                                            Page 16 of 19

                                        APP. 33
   Case 3:22-cv-00365-D
        3:21-cv-01765-D Document 9
                                 1 Filed 04/08/22
                                         07/29/21           Page 34
                                                                 17 of 82
                                                                       19 PageID 95
                                                                                 17



the subject premises, as provided by the ADA unless the injunctive relief requested

herein is granted.

       40.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendant to fulfill its continuing duty to

maintain the accessible features at the premises in the future as mandated by 28 CFR

36.211.

       WHEREFORE, the Plaintiff prays as follows:

       A.     That the Court find Defendant, CP FUELS INC., in
              violation of the ADA and ADAAG;

       B.     That the Court enter an Order requiring Defendant, CP
              FUELS INC., to (i) remove the physical barriers to access
              and (ii) alter the Subject Property to make the Subject
              Property readily accessible to and useable by individuals
              with disabilities to the full extent required by Title III of
              the ADA;

       C.     That the Court enter an Order directing Defendant,
              pursuant to 28 C.F.R. §36.211, to fulfill its continuing duty
              to maintain its accessible features and equipment so that
              the facility remains accessible to and useable by
              individuals with disabilities to the full extent required by
              Title III of the ADA;

       D.     That the Court enter an Order directing Defendant to
              implement and carry out effective policies, practices, and
              procedures to maintain the accessible features and
                                                                                Page 17 of 19

                                         APP. 34
Case 3:22-cv-00365-D
     3:21-cv-01765-D Document 9
                              1 Filed 04/08/22
                                      07/29/21       Page 35
                                                          18 of 82
                                                                19 PageID 96
                                                                          18



         equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
         §36.211.

   E.    That the Court enter an Order directing Defendant to
         evaluate and neutralize its policies and procedures towards
         persons with disabilities for such reasonable time so as to
         allow them to undertake and complete corrective
         procedures;

   F.    An award of attorneys’ fees, costs (including expert fees),
         and litigation expenses pursuant to 42 U.S.C. § 12205 and
         an award of monitoring fees associated with insuring that
         the Defendant is in compliance with the ADA.

   G.    An award of interest upon the original sums of said award
         of attorney’s fees, costs (including expert fees), and other
         expenses of suit; and

   H.    Such other relief as the Court deems just and proper,
         and/or is allowable under Title III of the Americans with
         Disabilities Act.




                                                                        Page 18 of 19

                                   APP. 35
  Case 3:22-cv-00365-D
       3:21-cv-01765-D Document 9
                                1 Filed 04/08/22
                                        07/29/21         Page 36
                                                              19 of 82
                                                                    19 PageID 97
                                                                              19



Dated this the 29th day of July, 2021.


                                         Respectfully submitted,




                                         /s/ Duncan Strickland
                                         Duncan Strickland
                                         Counsel for Plaintiff
                                         State Bar No.: 24072374
                                         20333 State Hwy 249, #200
                                         Houston, Texas 77070
                                         Telephone: (713) 588-0388
                                         Facsimile: (832) 218-4317
                                         E-mail:
                                         Duncan@TexasLandLordAttorney.com



DEFENDANT TO BE SERVED:
CP FUELS INC.
C/O Sridhar Kommaraju
2747 Dames Lane
IRVING, TX 75063




                                                                         Page 19 of 19

                                         APP. 36
JS 44 (Rev. 09/19)
                            Case
                            Case 3:22-cv-00365-D  CIVIL COVER
                                 3:21-cv-01765-D Document
                                                 Document 91-1Filed  SHEET
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                                                                     04/08/22
                                                                       07/29/21 Page
                                                                                  Page
                                                                                     371ofof82
                                                                                             2 PageID
                                                                                               PageID 20
                                                                                                      98
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                                 DEFENDANTS
SHANE CRIDER                                                                                                    CP FUELS INC.

        (b) County of Residence of First Listed Plaintiff             Dallas                                      County of Residence of First Listed Defendant             Dallas
                                      (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                  NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                             THE TRACT OF LAND INVOLVED.

        (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Strickland Law Firm, PLLC
20333 State Hwy 249, #200
Houston, TX 77070

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                             III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                              (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1        U.S. Government                ’ 3     Federal Question                                                                     PTF        DEF                                          PTF      DEF
             Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1        ’ 1      Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                             of Business In This State

’ 2        U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
             Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                         Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                           Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                 Click here for: Nature of Suit Code Descriptions.
I              CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES             I
    ’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
    ’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
    ’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
    ’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
    ’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
            & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
    ’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
    ’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
            Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
            (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
    ’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
            of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)                     (15 USC 1681 or 1692)
    ’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 485 Telephone Consumer
    ’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Protection Act
    ’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 490 Cable/Sat TV
    ’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 850 Securities/Commodities/
                                         ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                                   Exchange
                                                 Medical Malpractice                                            Leave Act                                                     ’ 890 Other Statutory Actions
I           REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS              ’ 891 Agricultural Acts
    ’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 893 Environmental Matters
    ’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 895 Freedom of Information
    ’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act
    ’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609               ’ 896 Arbitration
    ’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 899 Administrative Procedure
    ’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          Act/Review or Appeal of
                                                 Employment                 Other:                       ’ 462 Naturalization Application                                           Agency Decision
                                         ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration                                              ’ 950 Constitutionality of
                                                 Other                    ’ 550 Civil Rights                   Actions                                                              State Statutes
                                         ’   448 Education                ’ 555 Prison Condition
                                                                          ’ 560 Civil Detainee -
                                                                                Conditions of
                                                                                Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original                 ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding                   State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                            (specify)                        Transfer                      Direct File
                                              Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              42 USC 12101
VI. CAUSE OF ACTION Brief description of cause:
                                              Unlawful barriers to entry as defined by the American Disabilities Act
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                     DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                      JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                                 DOCKET NUMBER 21-CV-1765
DATE                                                                         SIGNATURE OF ATTORNEY OF RECORD
07/29/2021                                                                  /s/ Duncan Strickland
FOR OFFICE USE ONLY

        RECEIPT #                     AMOUNT                                     APPLYING IFP        APP. 37                       JUDGE                          MAG. JUDGE

                     Print                               Save As...                                                                                                                  Reset
JS 44 Reverse (Rev. 09/19)
                      Case
                      Case 3:22-cv-00365-D
                           3:21-cv-01765-D Document
                                           Document 91-1Filed
                                                           Filed
                                                               04/08/22
                                                                 07/29/21 Page
                                                                            Page
                                                                               382ofof82
                                                                                       2 PageID
                                                                                         PageID 21
                                                                                                99
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




                                                                           APP. 38
     Case
      Case3:22-cv-00365-D
           3:21-cv-01765-D Document
                            Document91-2Filed
                                           Filed
                                              04/08/22
                                                 07/29/21Page
                                                           Page
                                                              39 1ofof822 PageID
                                                                          PageID 100
                                                                                 22



                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS


Shane Crider
Plaintiff
v.                                                                 21-CV-1765

                                                               Civil Action No.
CP Fuels, Inc.
Defendant


                        CERTIFICATE OF INTERESTED PERSONS
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,



Duncan Strickland – Strickland Law Firm, PLLC

provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.



Duncan Strickland – Strickland Law Firm, PLLC



        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.

J. Luke Sanderson
208 Adams Avenue
Memphis, TN 38103

B.J. Wade
208 Adams Avenue
Memphis, TN 38103




                                                APP. 39
               Case
                Case3:22-cv-00365-D
                     3:21-cv-01765-D Document
                                      Document91-2Filed
                                                     Filed
                                                        04/08/22
                                                           07/29/21Page
                                                                     Page
                                                                        40 2ofof822 PageID
                                                                                    PageID 101
                                                                                           23



                                                   07/29/2021

                                                   /s/ Duncan Strickland
                                                   Duncan Strickland
                                                   State Bar No.: 24072374
                                                   20333 State Hwy 249, #200
                                                   Houston, Texas 77070
                                                   Telephone: (713) 588-0388
                                                   Facsimile: (832) 218-4317
                                                   E-mail: Duncan@TexasLandLordAttorney.com




NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil/Other
Documents/Certificate of Interested Persons




                                                              APP. 40
            Case
             Case3:22-cv-00365-D
                  3:21-cv-01765-D Document
                                   Document91-3Filed
                                                  Filed
                                                     04/08/22
                                                        07/29/21Page
                                                                  Page
                                                                     41 1ofof822 PageID
                                                                                 PageID 102
                                                                                        24
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       NorthernDistrict
                                                   __________   Districtofof__________
                                                                             Texas

                                                                     )
                                                                     )
                       SHANE CRIDER                                  )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
                                                                     )
                                                                     )
                       CP FUELS INC.                                 )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CP FUELS INC.
                                           C/O Sridhar Kommaraju
                                           2747 Dames Lane
                                           Irving, TX 75063




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Duncan Strickland
                                           Strickland Law Firm, PLLC
                                           20333 State Hwy 249, #200
                                           Houston, TX 77070


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             07/29/2021
                                                                                          Signature of Clerk or Deputy Clerk




                                                                APP. 41
             Case
              Case3:22-cv-00365-D
                   3:21-cv-01765-D Document
                                    Document91-3Filed
                                                   Filed
                                                      04/08/22
                                                         07/29/21Page
                                                                   Page
                                                                      42 2ofof822 PageID
                                                                                  PageID 103
                                                                                         25
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                           .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $          0              .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




                                                                      APP. 42
           Print                       Save As...                                                                      Reset
  Case
   Case3:22-cv-00365-D
         3:21-cv-01765-DDocument
                         Document9 6Filed
                                      Filed
                                          04/08/22
                                            11/23/21 Page
                                                      Page431of
                                                              of82
                                                                 1 PageID
                                                                   PageID34
                                                                          104



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

SHANE CRIDER,
                                                §
                                                §
                               Plaintiff,       §
                                                § Civil Action No. 3:21-CV-1765 -D
VS.                                             §
                                                §
                                                §
CP FUELS, INC.,                                 §
                               Defendant.       §


                                            JUDGMENT

       For the reasons set out in an order filed today, it is ordered and adjudged that this action is

dismissed without prejudice.

       Taxable costs of court, as calculated by the clerk of court, are assessed against the plaintiff.

       Done at Dallas, Texas November 23, 2021.




                                              _________________________________
                                              SIDNEY A. FITZWATER
                                              SENIOR JUDGE




                                              APP. 43
  Case
   Case3:22-cv-00365-D
         3:21-cv-01852-L Document
                          Document9 1 Filed
                                        Filed04/08/22
                                              08/09/21 Page
                                                        Page441 of
                                                                of 82
                                                                   17 PageID
                                                                      PageID 105
                                                                             1



           IN THE UNITED STATES DISTRICT COURT
     FOR THE NORTHERN DISTRICT OF TEXAS IN THE DALLAS
                         DIVISION

SHANE CRIDER,                   *
individually,                   *
                                *
      Plaintiff,                *
                                *
v.                              * Case No. 21-CV-1852
                                *
HANKUK PLAZA CORP.              *
a corporation,                   *
                                *
      Defendant.                *
__________________________________________________________________

                                  COMPLAINT

       Plaintiff SHANE CRIDER (“CRIDER” or “Plaintiff”) hereby sues

Defendant, HANKUK PLAZA CORP., individual, (hereinafter “Defendant”)

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”),

and its implementing regulations, the ADA’s Accessibility Guidelines, 28 C.F.R.

Part 36 (“ADAAG”) and alleges as follows:

                        JURISDICTION AND PARTIES

      1.     This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C.

§ 12181 et seq., based upon Defendant, HANKUK PLAZA CORP., failure to

remove physical barriers to access and violations of Title III of the ADA.
                                                                             Page 1 of 17

                                       APP. 44
  Case
   Case3:22-cv-00365-D
         3:21-cv-01852-L Document
                          Document9 1 Filed
                                        Filed04/08/22
                                              08/09/21 Page
                                                        Page452 of
                                                                of 82
                                                                   17 PageID
                                                                      PageID 106
                                                                             2



       2.     Venue is properly located in the NORTHERN DISTRICT OF TEXAS

pursuant to 28 U.S.C. § 1391(b) because venue lies in the judicial district of the

property situs or the judicial district in which a substantial part of the events or

omissions giving rise to Plaintiff’s claims occurred. The Defendant’s property is

located in and does business within this judicial district and all events giving rise to

this lawsuit occurred in this judicial district.

       3.     Plaintiff, SHANE CRIDER, is and has been at all times relevant to the

instant matter, a natural person residing in Texas and is sui juris.

       4.     Plaintiff is an individual with disabilities as defined by the ADA.

       5.     Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

       6.     Plaintiff uses a wheelchair for mobility purposes.

       7.     Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiff’s motivation to return to

a location, in part, stems from a desire to utilize ADA litigation to make his home

community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to create the requisite standing to confer jurisdiction upon this Court so an

injunction can be issued correcting the numerous ADA violations on the Subject


                                                                              Page 2 of 17

                                         APP. 45
  Case
   Case3:22-cv-00365-D
         3:21-cv-01852-L Document
                          Document9 1 Filed
                                        Filed04/08/22
                                              08/09/21 Page
                                                        Page463 of
                                                                of 82
                                                                   17 PageID
                                                                      PageID 107
                                                                             3



Property, including returning to the Subject Property as soon as it is accessible

(“Advocacy Purposes”).

      8.      Defendant, HANKUK PLAZA CORP., is a corporation conducting

business in the State of Texas and within this judicial district.

                            FACTUAL ALLEGATIONS

      9.      On or about May of 2021, Plaintiff attempted to but was deterred from

patronizing, and/or gaining equal access as a disabled patron to the Hankuk Plaza

located at 11410 Harry Hines Blvd, Dallas, TX 75229 (“Subject Facility”, “Subject

Property”).

      10.     HANKUK PLAZA CORP., is the owner, lessor, and/or operator/lessee

of the real property and improvements that are the subject of this action, specifically

the shopping center and its attendant facilities, including vehicular parking and

common exterior paths of travel within the site identified by the Dallas County

Assessor parcel identification number 00000604651000000 (“Subject Facility”,

“Subject Property”).

      11.     Plaintiff lives within thirty (30) miles of the Subject Property. Because

the Subject Property is located on Harry Hines Blvd, Dallas thoroughfare that he

frequents routinely, he is routinely where the Subject Property is located and travels

in and about the immediate area of the Subject Property numerous times every

month, if not every week.


                                                                             Page 3 of 17

                                        APP. 46
  Case
   Case3:22-cv-00365-D
         3:21-cv-01852-L Document
                          Document9 1 Filed
                                        Filed04/08/22
                                              08/09/21 Page
                                                        Page474 of
                                                                of 82
                                                                   17 PageID
                                                                      PageID 108
                                                                             4



      12.     Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant, HANKUK PLAZA CORP., is compelled to remove the physical barriers

to access and correct the ADA violations that exist at the Subject Property, including

those set forth in this Complaint.

      13.    Plaintiff has visited, i.e. attempted to patronize, the Subject Property on

multiple prior occasions, and at least once before as a patron and advocate for the

disabled. Plaintiff intends on revisiting the Subject Property within six months of the

filing of this Complaint or sooner, as soon as the barriers to access detailed in this

Complaint are removed. The purpose of the revisit is to be a regular patron, to

determine if and when the Subject Property is made accessible, and to maintain

standing for this lawsuit for Advocacy Purposes.

      14.    Plaintiff intends on revisiting the Subject Property to enjoy the same

experiences, goods, and services available to Defendant’s non-disabled patron as

well as for Advocacy Purposes, but does not intend to continue to repeatedly re-

expose himself to the ongoing barriers to equal access and engage in the futile

gesture of attempting to patronize the Subject Property, a business of public




                                                                              Page 4 of 17

                                       APP. 47
  Case
   Case3:22-cv-00365-D
         3:21-cv-01852-L Document
                          Document9 1 Filed
                                        Filed04/08/22
                                              08/09/21 Page
                                                        Page485 of
                                                                of 82
                                                                   17 PageID
                                                                      PageID 109
                                                                             5



accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

      15.    Plaintiff recently traveled to the Subject Property as a patron and as an

independent advocate for the disabled, encountered and/or observed the barriers to

access that are detailed in this Complaint, engaged those barriers where physically

possible, suffered legal harm and legal injury, and will continue to suffer such harm

and injury as a result of the illegal barriers to equal access present at the Subject

Property.

               COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                  (Against Defendant for ADA Violations)

      16.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      17.    The Subject Property is a public accommodation and service

establishment.

      18.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      19.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer



                                                                            Page 5 of 17

                                       APP. 48
 Case
  Case3:22-cv-00365-D
        3:21-cv-01852-L Document
                         Document9 1 Filed
                                       Filed04/08/22
                                             08/09/21 Page
                                                       Page496 of
                                                               of 82
                                                                  17 PageID
                                                                     PageID 110
                                                                            6



employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

     20.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

     21.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in his capacity as a patron at the Subject Property and as an

independent advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Subject Property that preclude and/or limit his

access to the Subject Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

     22.    Plaintiff intends to visit the Subject Property again in the very near

future as a patron and as an independent advocate for the disabled, in order to utilize

all of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered to able-bodied patrons of the Subject Property but will be unable

to fully do so because of his disability and the physical barriers to access, dangerous

conditions and ADA violations that exist at the Subject Property that preclude

and/or limit his access to the Subject Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those


                                                                             Page 6 of 17

                                       APP. 49
 Case
  Case3:22-cv-00365-D
        3:21-cv-01852-L Document
                         Document9 1 Filed
                                       Filed04/08/22
                                             08/09/21 Page
                                                       Page507 of
                                                               of 82
                                                                  17 PageID
                                                                     PageID 111
                                                                            7



barriers, conditions and ADA violations more specifically set forth in this

Complaint.

     23.     Defendant, HANKUK PLAZA CORP., has discriminated against

Plaintiff (and others with disabilities) by denying his access to, and full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of the Subject Property, as prohibited by, and by failing to remove

architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

     24.     Defendant, HANKUK PLAZA CORP., will continue to discriminate

against Plaintiff and others with disabilities unless and until HANKUK PLAZA

CORP., is compelled to remove all physical barriers that exist at the Subject

Property, including those specifically set forth herein, and make the Subject

Property accessible to and usable by Plaintiff and other persons with disabilities.

     25.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and the full and equal enjoyment

of the goods, services, facilities, privileges, advantages and accommodations of the

Subject Property include, but are not limited to:

                       ACCESSIBLE ROUTES/PARKING
                                (Exterior)


             a. The purported accessible parking spaces are not level
                in all directions and have areas of uneven, broken
                                                                            Page 7 of 17

                                      APP. 50
Case
 Case3:22-cv-00365-D
       3:21-cv-01852-L Document
                        Document9 1 Filed
                                      Filed04/08/22
                                            08/09/21 Page
                                                      Page518 of
                                                              of 82
                                                                 17 PageID
                                                                    PageID 112
                                                                           8



             pavement because of Defendant’s history and practice
             of failing to inspect and maintain the parking surface in
             violation of 28 CFR § 36.211, Sections 4.5.1 and 4.6.3
             of the 1991 ADAAG and Sections 302 and 502.4 of the
             2010 ADAAG. This violation made it dangerous for
             Plaintiff to utilize the parking facility at the Subject
             Property and caused Plaintiff undue upset and loss of
             opportunity.


          b. The purported accessible aisles are not level in all
             directions and have areas of uneven, broken pavement
             because of Defendant’s history and practice of failing
             to inspect and maintain the parking surface in violation
             of 28 CFR § 36.211, Sections 4.5.1 and 4.6.3 of the
             1991 ADAAG and Sections 302 and 502.4 of the 2010
             ADAAG. This violation made it dangerous for Plaintiff
             to utilize the parking facility at the Subject Property
             and caused Plaintiff undue upset and loss of
             opportunity.


          c. There is no van accessible parking present in violation
             of Section 4.6 of the 1991 ADAAG and Section 502 of
             the 2010 ADAAG. This violation made it dangerous
             Plaintiff to utilize the parking facility at the Subject
             Property and caused Plaintiff undue upset and loss of
             opportunity.


          d. There is no visible upright signage (displaying the
             International Symbol of Accessibility) designating
             parking spaces as van parking in violation of Section
             4.6 of the 1991 ADAAG and Section 502 of the 2010
             ADAAG. This violation made it dangerous for Plaintiff
             to utilize the parking facility at the Subject Property
             and caused Plaintiff undue upset and loss of
             opportunity.




                                                                         Page 8 of 17

                                    APP. 51
Case
 Case3:22-cv-00365-D
       3:21-cv-01852-L Document
                        Document9 1 Filed
                                      Filed04/08/22
                                            08/09/21 Page
                                                      Page529 of
                                                              of 82
                                                                 17 PageID
                                                                    PageID 113
                                                                           9



          e. There is no van accessible parking identified as such
             with upright “Van Accessible” signage in violation of
             Section 4.6 of the 1991 ADAAG and Sections 208, 302
             and 502 of the 2010 ADAAG. This violation made it
             dangerous for Plaintiff to utilize the parking facility at
             the Subject Property and caused Plaintiff undue upset
             and loss of opportunity.


          f. There is no accessible route provided within the site
             from the public sidewalk which serves the facility.
             Violation: There is broken and cracked pavement
             within the purported accessible route from the
             entrance(s) of    the subject facility to the
             public sidewalk in violation of Section 4.3.2 of the
             1991 ADAAG and Section 206.2.1 of the 2010
             ADAAG. This violation prevented equal access to the
             Subject Property and caused Plaintiff undue upset and
             loss of opportunity.


                                      RAMP


          g. The curb ramp dispersed around the storefront curb
             serving the tenant space entrances at the Subject
             Property have runs with abrupt changes in level at the
             top and/or bottom transitions from the parking surface
             to the ramps in violation of Section 4.3.8 of the 1991
             ADAAG and Sections 303.3 and 303.4 of the 2010
             ADAAG. This violation prevented safe access to the
             plaintiff and caused Plaintiff undue upset and loss of
             opportunity.




                       MAINTENANCE PRACTICES



                                                                          Page 9 of 17

                                    APP. 52
Case3:22-cv-00365-D
Case 3:21-cv-01852-L Document
                     Document 91 Filed
                                 Filed 04/08/22
                                       08/09/21 Page
                                                Page 53
                                                     10 of
                                                        of 82
                                                           17 PageID
                                                              PageID 114
                                                                     10



         e. Defendant has a practice of failing to maintain the
            accessible features of the facility, creating barriers to
            access for the Plaintiff, as set forth herein, in violation
            of 28 CFR § 36.211. This practice prevented access to
            the plaintiff equal to that of Defendant’s able-bodied
            customers causing Plaintiff loss of opportunity,
            anxiety, humiliation and/or embarrassment.

         f. Defendant has a practice of failing to maintain the
            accessible elements at the Subject Facility by
            neglecting its continuing duty to review, inspect, and
            discover transient accessible elements which by the
            nature of their design or placement, frequency of usage,
            exposure to weather and/or other factors, are prone to
            shift from compliant to noncompliant so that said
            elements may be discovered and remediated.
            Defendant failed and continues to fail to alter its
            inadequate maintenance practices to prevent future
            recurrence of noncompliance with dynamic accessible
            elements at the Subject Facility in violation of 28 CFR
            § 36.211, the 1991 ADAAG, and the 2010 ADAAG.
            These violations, as set forth hereinabove, made it
            impossible for Plaintiff to experience the same access
            to the goods, services, facilities, privileges, advantages
            and accommodations of the Subject Facility as
            Defendant’s able-bodied patrons and caused Plaintiff
            loss of opportunity, anxiety, embarrassment and/or
            humiliation.

         g. Defendant has failed to modify its discriminatory
            maintenance practices to ensure that, pursuant to its
            continuing duty under the ADA, the Subject Property
            remains readily accessible to and usable by disabled
            individuals, including Plaintiff, as set forth herein, in
            violation of 28 CFR § 36.302 and 36.211. This failure
            by Defendant prevented access to the plaintiff equal to
            that of Defendant’s able-bodied customers causing

                                                                          Page 10 of 17

                                    APP. 53
  Case
  Case3:22-cv-00365-D
       3:21-cv-01852-L Document
                       Document 91 Filed
                                   Filed 04/08/22
                                         08/09/21 Page
                                                  Page 54
                                                       11 of
                                                          of 82
                                                             17 PageID
                                                                PageID 115
                                                                       11



                Plaintiff loss of opportunity, anxiety, humiliation
                and/or embarrassment.

      26.    The discriminatory violations described above are not an exhaustive list

of the Defendant’s current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

due to the architectural barriers encountered. A complete list of the subject location’s

ADA violations affecting the Plaintiff as a wheelchair user, and the remedial

measures necessary to remove same, will require an on-site inspection by Plaintiff’s

representatives pursuant to Federal Rule of Civil Procedure 34. Once the Plaintiff

personally encounters discrimination, as alleged above, or learns of discriminatory

violations through expert findings of personal observation, he has actual notice that

the defendant does not intend to comply with the ADA.

      27.    The Defendant has a practice of failing to maintain the accessible

elements at the Subject Property by neglecting its continuing duty to review, inspect,

and discover transient accessible elements which by the nature of its design or

placement, frequency of usage, exposure to weather and/or other factors, are prone

to shift from compliant to noncompliant, so that said elements are discovered and

remediated. Defendant failed and continues to fail to alter its inadequate

maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and


                                                                             Page 11 of 17

                                        APP. 54
  Case
  Case3:22-cv-00365-D
       3:21-cv-01852-L Document
                       Document 91 Filed
                                   Filed 04/08/22
                                         08/09/21 Page
                                                  Page 55
                                                       12 of
                                                          of 82
                                                             17 PageID
                                                                PageID 116
                                                                       12



36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,

as a wheelchair user, to experience the same access to the goods, services, facilities,

privileges, advantages and accommodations of the Subject Property as Defendant’s

able-bodied patrons.

      28.    Accessible elements at the Subject Property have been altered and/or

constructed since 2010.

      29.    The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the

2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of

the alleged violations set forth herein can be modified to comply with the 1991

ADAAG standards.

      30.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      31.    Each of the violations alleged herein is readily achievable to modify to

bring the Subject Property into compliance with the ADA.

      32.    Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the




                                                                            Page 12 of 17

                                       APP. 55
  Case
  Case3:22-cv-00365-D
       3:21-cv-01852-L Document
                       Document 91 Filed
                                   Filed 04/08/22
                                         08/09/21 Page
                                                  Page 56
                                                       13 of
                                                          of 82
                                                             17 PageID
                                                                PageID 117
                                                                       13



Subject Property, the structural design of the subject facility, and the straightforward

nature of the necessary modifications.

      33.    To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendant.

      34.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relative low cost of the

necessary modifications and the Defendant has the financial resources to make the

modifications, including the financial assistance made available to Defendant by the

government pursuant to Section 44 and/or Section 190 of the IRS Code.

      35.    By continuing to maintain and/or operate the Subject Property with

discriminatory conditions in violation of the ADA, Defendant contributes to

Plaintiff’s sense of isolation and segregation and deprives Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

available to able bodied individuals of the general public.

      36.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 CFR


                                                                             Page 13 of 17

                                         APP. 56
  Case
  Case3:22-cv-00365-D
       3:21-cv-01852-L Document
                       Document 91 Filed
                                   Filed 04/08/22
                                         08/09/21 Page
                                                  Page 57
                                                       14 of
                                                          of 82
                                                             17 PageID
                                                                PageID 118
                                                                       14



36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the

maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

CFR 36.401, then the Defendant’s facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed

to comply with this mandate.

      37.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant, HANKUK PLAZA CORP., is required to remove the

physical barriers, dangerous conditions and ADA violations that exist at the Subject

Property, including those alleged herein. Considering the balance of hardships

between the Plaintiff and Defendant, a remedy in equity is warranted.

      38.    Plaintiff’s requested relief serves the public interest.

      39.    Plaintiff’s counsel is entitled to recover its reasonable attorneys’ fees

and costs of litigation from Defendant, HANKUK PLAZA CORP., pursuant to 42

U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff will be denied full and equal




                                                                            Page 14 of 17

                                        APP. 57
  Case
  Case3:22-cv-00365-D
       3:21-cv-01852-L Document
                       Document 91 Filed
                                   Filed 04/08/22
                                         08/09/21 Page
                                                  Page 58
                                                       15 of
                                                          of 82
                                                             17 PageID
                                                                PageID 119
                                                                       15



access to the subject premises, as provided by the ADA unless the injunctive relief

requested herein is granted.

      40.     Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendant to fulfill its continuing duty to

maintain the accessible features at the premises in the future as mandated by 28 CFR

36.211.

      WHEREFORE, the Plaintiff prays as follows:

      A.      That the Court find Defendant, HANKUK PLAZA
              CORP., in violation of the ADA and ADAAG;

      B.      That the Court enter an Order requiring Defendant,
              HANKUK PLAZA CORP., to (i) remove the physical
              barriers to access and (ii) alter the Subject Property to
              make the Subject Property readily accessible to and
              useable by individuals with disabilities to the full extent
              required by Title III of the ADA;

      C.      That the Court enter an Order directing Defendant,
              pursuant to 28 C.F.R. §36.211, to fulfill its continuing duty
              to maintain its accessible features and equipment so that
              the facility remains accessible to and useable by
              individuals with disabilities to the full extent required by
              Title III of the ADA;

      D.      That the Court enter an Order directing Defendant to
              implement and carry out effective policies, practices, and
              procedures to maintain the accessible features and
                                                                                Page 15 of 17

                                         APP. 58
Case
Case3:22-cv-00365-D
     3:21-cv-01852-L Document
                     Document 91 Filed
                                 Filed 04/08/22
                                       08/09/21 Page
                                                Page 59
                                                     16 of
                                                        of 82
                                                           17 PageID
                                                              PageID 120
                                                                     16



         equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
         §36.211.

   E.    That the Court enter an Order directing Defendant to
         evaluate and neutralize its policies and procedures towards
         persons with disabilities for such reasonable time so as to
         allow them to undertake and complete corrective
         procedures;

   F.    An award of attorneys’ fees, costs (including expert fees),
         and litigation expenses pursuant to 42 U.S.C. § 12205 and
         an award of monitoring fees associated with insuring that
         the Defendant is in compliance with the ADA.

   G.    An award of interest upon the original sums of said award
         of attorney’s fees, costs (including expert fees), and other
         expenses of suit; and

   H.    Such other relief as the Court deems just and proper,
         and/or is allowable under Title III of the Americans with
         Disabilities Act.




                                                                        Page 16 of 17

                                   APP. 59
  Case
  Case3:22-cv-00365-D
       3:21-cv-01852-L Document
                       Document 91 Filed
                                   Filed 04/08/22
                                         08/09/21 Page
                                                  Page 60
                                                       17 of
                                                          of 82
                                                             17 PageID
                                                                PageID 121
                                                                       17




Dated this the 9th day of August, 2021.


                                Respectfully submitted,

                                By:

                                /s/ Matthew Sapp, Esq.
                                Counsel for Plaintiff
                                Texas State Bar No.: 24075016
                                Telephone: 469-381-6833
                                Email: matt@sappsturgill.com

DEFENDANT TO BE SERVED:
HANKUK PLAZA CORP.
C/O Young H Kim
11347 HARRY HINES BLVD.
DALLAS, TX 75229




                                                                   Page 17 of 17

                                      APP. 60
  Case
   Case3:22-cv-00365-D
         3:22-cv-00355-GDocument
                         Document9 1Filed
                                      Filed
                                          04/08/22
                                            02/12/22 Page
                                                      Page611of
                                                              of82
                                                                 16 PageID
                                                                    PageID122
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           IN THE UNITED STATES DISTRICT COURT
     FOR THE NORTHERN DISTRICT OF TEXAS IN THE DALLAS
                         DIVISION

 SHANE CRIDER,                    §
 individually,                    §
                                  §
    Plaintiff,                    §
                                  §
 V.                               §    Case No. 3:22-cv-355
                                  §
 1850 MOCKINGBIRD, LLC,           §
 a domestic incorporated company, §
                                  §
    Defendant.                    §
__________________________________________________________________

                                 COMPLAINT

       Plaintiff SHANE CRIDER (“CRIDER” or “Plaintiff”) hereby sues

Defendant, 1850 MOCKINGBIRD, LLC, limited liability company, (hereinafter

“Defendant”) pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et

seq. (“ADA”), and its implementing regulations, the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”) and alleges as follows:

                       JURISDICTION AND PARTIES

      1.    This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C.




                                                                           Page 1 of 16

                                      APP. 61
  Case
   Case3:22-cv-00365-D
         3:22-cv-00355-GDocument
                         Document9 1Filed
                                      Filed
                                          04/08/22
                                            02/12/22 Page
                                                      Page622of
                                                              of82
                                                                 16 PageID
                                                                    PageID123
                                                                           2



§ 12181 et seq., based upon Defendant, 1850 MOCKINGBIRD, LLC, failure to

remove physical barriers to access and violations of Title III of the ADA.

       2.     Venue is properly located in the NORTHERN DISTRICT OF TEXAS

pursuant to 28 U.S.C. § 1391(b) because venue lies in the judicial district of the

property situs or the judicial district in which a substantial part of the events or

omissions giving rise to Plaintiff’s claims occurred. The Defendant’s property is

located in and does business within this judicial district and all events giving rise to

this lawsuit occurred in this judicial district.

       3.     Plaintiff, SHANE CRIDER, is and has been at all times relevant to the

instant matter, a natural person residing in Texas and is sui juris.

       4.     Plaintiff is an individual with disabilities as defined by the ADA.

       5.     Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

       6.     Plaintiff uses a wheelchair for mobility purposes.

       7.     Plaintiff is also an independent advocate of the rights of similarly

situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

civil rights, monitoring, determining and ensuring whether places of public

accommodation are in compliance with the ADA. Plaintiff’s motivation to return to

a location, in part, stems from a desire to utilize ADA litigation to make his home

community more accessible for Plaintiff and others; and pledges to do whatever is


                                                                              Page 2 of 16

                                         APP. 62
  Case
   Case3:22-cv-00365-D
         3:22-cv-00355-GDocument
                         Document9 1Filed
                                      Filed
                                          04/08/22
                                            02/12/22 Page
                                                      Page633of
                                                              of82
                                                                 16 PageID
                                                                    PageID124
                                                                           3



necessary to create the requisite standing to confer jurisdiction upon this Court so an

injunction can be issued correcting the numerous ADA violations on the Subject

Property, including returning to the Subject Property as soon as it is accessible

(“Advocacy Purposes”).

      8.     Defendant, 1850 MOCKINGBIRD, LLC, is a limited liability company

conducting business in the State of Texas and within this judicial district.

                           FACTUAL ALLEGATIONS

      9.     On or about July of 2021, Plaintiff attempted to but was deterred from

patronizing, and/or gaining equal access as a disabled patron to the Hance’s

European Shopping Center located at 1850 W. Mockingbird Ln., Dallas, TX 75235

(“Subject Facility”, “Subject Property”).

      10.    1850 MOCKINGBIRD, LLC, is the owner, lessor, and/or

operator/lessee of the real property and improvements that are the subject of this

action, specifically the shopping center and its attendant facilities, including

vehicular parking and common exterior paths of travel within the site identified by

the Dallas County Assessor parcel identification number 778282000000 (“Subject

Facility”, “Subject Property”).

      11.    Plaintiff lives within thirty (30) miles of the Subject Property. Because

the Subject Property is located on W. Mockingbird Ln., Dallas thoroughfare that he

frequents routinely, he is routinely where the Subject Property is located and travels


                                                                               Page 3 of 16

                                       APP. 63
  Case
   Case3:22-cv-00365-D
         3:22-cv-00355-GDocument
                         Document9 1Filed
                                      Filed
                                          04/08/22
                                            02/12/22 Page
                                                      Page644of
                                                              of82
                                                                 16 PageID
                                                                    PageID125
                                                                           4



in and about the immediate area of the Subject Property numerous times every

month, if not every week.

      12.     Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant, 1850 MOCKINGBIRD, LLC, is compelled to remove the physical

barriers to access and correct the ADA violations that exist at the Subject Property,

including those set forth in this Complaint.

      13.    Plaintiff has visited, i.e. attempted to patronize, the Subject Property on

multiple prior occasions, and at least once before as a patron and advocate for the

disabled. Plaintiff intends on revisiting the Subject Property within six months of the

filing of this Complaint or sooner, as soon as the barriers to access detailed in this

Complaint are removed. The purpose of the revisit is to be a regular patron, to

determine if and when the Subject Property is made accessible, and to maintain

standing for this lawsuit for Advocacy Purposes.

      14.    Plaintiff intends on revisiting the Subject Property to enjoy the same

experiences, goods, and services available to Defendant’s non-disabled patron as

well as for Advocacy Purposes, but does not intend to continue to repeatedly re-

expose himself to the ongoing barriers to equal access and engage in the futile


                                                                              Page 4 of 16

                                       APP. 64
  Case
   Case3:22-cv-00365-D
         3:22-cv-00355-GDocument
                         Document9 1Filed
                                      Filed
                                          04/08/22
                                            02/12/22 Page
                                                      Page655of
                                                              of82
                                                                 16 PageID
                                                                    PageID126
                                                                           5



gesture of attempting to patronize the Subject Property, a business of public

accommodation known to Plaintiff to have numerous and continuing barriers to

equal access for wheelchair users.

      15.    Plaintiff recently traveled to the Subject Property as a patron and as an

independent advocate for the disabled, encountered and/or observed the barriers to

access that are detailed in this Complaint, engaged those barriers where physically

possible, suffered legal harm and legal injury, and will continue to suffer such harm

and injury as a result of the illegal barriers to equal access present at the Subject

Property.

               COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                  (Against Defendant for ADA Violations)

      16.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      17.    The Subject Property is a public accommodation and service

establishment.

      18.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      19.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer
                                                                            Page 5 of 16

                                       APP. 65
 Case
  Case3:22-cv-00365-D
        3:22-cv-00355-GDocument
                        Document9 1Filed
                                     Filed
                                         04/08/22
                                           02/12/22 Page
                                                     Page666of
                                                             of82
                                                                16 PageID
                                                                   PageID127
                                                                          6



employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

     20.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

     21.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in his capacity as a patron at the Subject Property and as an

independent advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Subject Property that preclude and/or limit his

access to the Subject Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

     22.    Plaintiff intends to visit the Subject Property again in the very near

future as a patron and as an independent advocate for the disabled, in order to utilize

all of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered to able-bodied patrons of the Subject Property but will be unable

to fully do so because of his disability and the physical barriers to access, dangerous

conditions and ADA violations that exist at the Subject Property that preclude

and/or limit his access to the Subject Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those


                                                                             Page 6 of 16

                                       APP. 66
 Case
  Case3:22-cv-00365-D
        3:22-cv-00355-GDocument
                        Document9 1Filed
                                     Filed
                                         04/08/22
                                           02/12/22 Page
                                                     Page677of
                                                             of82
                                                                16 PageID
                                                                   PageID128
                                                                          7



barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      23.       Defendant, 1850 MOCKINGBIRD, LLC, has discriminated against

Plaintiff (and others with disabilities) by denying his access to, and full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of the Subject Property, as prohibited by, and by failing to remove

architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      24.       Defendant, 1850 MOCKINGBIRD, LLC, will continue to discriminate

against     Plaintiff   and   others   with   disabilities   unless   and   until   1850

MOCKINGBIRD, LLC, is compelled to remove all physical barriers that exist at

the Subject Property, including those specifically set forth herein, and make the

Subject Property accessible to and usable by Plaintiff and other persons with

disabilities.

      25.       A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and the full and equal enjoyment

of the goods, services, facilities, privileges, advantages and accommodations of the

Subject Property include, but are not limited to:



                          ACCESSIBLE ROUTES/PARKING
                                   (Exterior)
                                                                               Page 7 of 16

                                         APP. 67
Case
 Case3:22-cv-00365-D
       3:22-cv-00355-GDocument
                       Document9 1Filed
                                    Filed
                                        04/08/22
                                          02/12/22 Page
                                                    Page688of
                                                            of82
                                                               16 PageID
                                                                  PageID129
                                                                         8




          a. The paint delineating the accessible parking spaces and
             access aisles is not being maintained so that it clearly
             marks the accessible parking location in violation of 28
             CFR § 36.211, Section 4.6 of the 1991 ADAAG, and
             Section 502.3.3 of the 2010 ADAAG. This violation
             made it dangerous for Plaintiff to utilize the parking
             facility at the Subject Property and caused Plaintiff
             undue upset and loss of opportunity.


          b. The purported accessible parking spaces are not level
             in all directions and have areas of uneven, broken
             pavement because of Defendant’s history and practice
             of failing to inspect and maintain the parking surface in
             violation of 28 CFR § 36.211, Sections 4.5.1 and 4.6.3
             of the 1991 ADAAG and Sections 302 and 502.4 of the
             2010 ADAAG. This violation made it dangerous for
             Plaintiff to utilize the parking facility at the Subject
             Property and caused Plaintiff undue upset and loss of
             opportunity.


          c. The purported accessible aisle is not level in all
             directions and have areas of uneven, broken pavement
             because of Defendant’s history and practice of failing
             to inspect and maintain the parking surface in violation
             of 28 CFR § 36.211, Sections 4.5.1 and 4.6.3 of the
             1991 ADAAG and Sections 302 and 502.4 of the 2010
             ADAAG. This violation made it dangerous for Plaintiff
             to utilize the parking facility at the Subject Property
             and caused Plaintiff undue upset and loss of
             opportunity.


          d. The van accessible parking space is not located on the
             shortest accessible route    from      parking      to
             the accessible entrance of the Subject Property in

                                                                         Page 8 of 16

                                    APP. 68
Case
 Case3:22-cv-00365-D
       3:22-cv-00355-GDocument
                       Document9 1Filed
                                    Filed
                                        04/08/22
                                          02/12/22 Page
                                                    Page699of
                                                            of82
                                                               16 PageID
                                                                  PageID130
                                                                         9



             violation of Section 4.6 of the 1991 ADAAG and
             Sections 208.3.1 and 502 of the 2010 ADAAG. This
             violation prevented equal access to the Subject
             Property and caused Plaintiff undue upset and loss of
             opportunity.


                                      RAMP


          e. The access aisle adjacent to the designated accessible
             space has a curb ramp projecting into it and/or has
             surfaces which are otherwise not level in all directions
             in violation of 28 CFR § 36.211, Section 4.6.3 of the
             1991 ADAAG and Section 502.4 of the 2010 ADAAG.
             These violations made it dangerous for Plaintiff to
             utilize the parking facility at the Subject Property and
             caused Plaintiff undue upset and loss of opportunity.


                       MAINTENANCE PRACTICES


          e. Defendant has a practice of failing to maintain the
             accessible features of the facility, creating barriers to
             access for the Plaintiff, as set forth herein, in violation
             of 28 CFR § 36.211. This practice prevented access to
             the plaintiff equal to that of Defendant’s able-bodied
             customers causing Plaintiff loss of opportunity,
             anxiety, humiliation and/or embarrassment.

          f. Defendant has a practice of failing to maintain the
             accessible elements at the Subject Facility by
             neglecting its continuing duty to review, inspect, and
             discover transient accessible elements which by the
             nature of their design or placement, frequency of usage,
             exposure to weather and/or other factors, are prone to
             shift from compliant to noncompliant so that said

                                                                           Page 9 of 16

                                     APP. 69
  Case
  Case3:22-cv-00365-D
       3:22-cv-00355-G Document
                       Document91 Filed
                                   Filed04/08/22
                                         02/12/22 Page
                                                  Page70
                                                       10of
                                                          of82
                                                             16 PageID
                                                                PageID131
                                                                       10



                elements be discovered and remediated. Defendant
                failed and continues to fail to alter its inadequate
                maintenance practices to prevent future recurrence of
                noncompliance with dynamic accessible elements at
                the Subject Facility in violation of 28 CFR § 36.211,
                the 1991 ADAAG, and the 2010 ADAAG. These
                violations, as set forth hereinabove, made it impossible
                for Plaintiff to experience the same access to the goods,
                services, facilities, privileges, advantages and
                accommodations of the Subject Facility as Defendant’s
                able-bodied patrons and caused Plaintiff loss of
                opportunity,       anxiety,    embarrassment       and/or
                humiliation.

             g. Defendant has failed to modify its discriminatory
                maintenance practices to ensure that, pursuant to its
                continuing duty under the ADA, the Subject Property
                remains readily accessible to and usable by disabled
                individuals, including Plaintiff, as set forth herein, in
                violation of 28 CFR § 36.302 and 36.211. This failure
                by Defendant prevented access to the plaintiff equal to
                that of Defendant’s able-bodied customers causing
                Plaintiff loss of opportunity, anxiety, humiliation
                and/or embarrassment.

      26.    The discriminatory violations described above are not an exhaustive list

of the Defendant’s current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

due to the architectural barriers encountered. A complete list of the subject location’s

ADA violations affecting the Plaintiff as a wheelchair user, and the remedial

measures necessary to remove same, will require an on-site inspection by Plaintiff’s

representatives pursuant to Federal Rule of Civil Procedure 34. Once the Plaintiff
                                                                             Page 10 of 16

                                        APP. 70
  Case
  Case3:22-cv-00365-D
       3:22-cv-00355-G Document
                       Document91 Filed
                                   Filed04/08/22
                                         02/12/22 Page
                                                  Page71
                                                       11of
                                                          of82
                                                             16 PageID
                                                                PageID132
                                                                       11



personally encounters discrimination, as alleged above, or learns of discriminatory

violations through expert findings of personal observation, he has actual notice that

the defendant does not intend to comply with the ADA.

      27.    The Defendant has a practice of failing to maintain the accessible

elements at the Subject Property by neglecting its continuing duty to review, inspect,

and discover transient accessible elements which by the nature of its design or

placement, frequency of usage, exposure to weather and/or other factors, are prone

to shift from compliant to noncompliant, so that said elements are discovered and

remediated. Defendant failed and continues to fail to alter its inadequate

maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and

36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,

as a wheelchair user, to experience the same access to the goods, services, facilities,

privileges, advantages and accommodations of the Subject Property as Defendant’s

able-bodied patrons.

      28.    Accessible elements at the Subject Property have been altered and/or

constructed since 2010.

      29.    The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the

2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of


                                                                            Page 11 of 16

                                       APP. 71
  Case
  Case3:22-cv-00365-D
       3:22-cv-00355-G Document
                       Document91 Filed
                                   Filed04/08/22
                                         02/12/22 Page
                                                  Page72
                                                       12of
                                                          of82
                                                             16 PageID
                                                                PageID133
                                                                       12



the alleged violations set forth herein can be modified to comply with the 1991

ADAAG standards.

      30.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      31.    Each of the violations alleged herein is readily achievable to modify to

bring the Subject Property into compliance with the ADA.

      32.    Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the

Subject Property, the structural design of the subject facility, and the straightforward

nature of the necessary modifications.

      33.    To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendant.

      34.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relative low cost of the

necessary modifications and the Defendant has the financial resources to make the


                                                                             Page 12 of 16

                                         APP. 72
  Case
  Case3:22-cv-00365-D
       3:22-cv-00355-G Document
                       Document91 Filed
                                   Filed04/08/22
                                         02/12/22 Page
                                                  Page73
                                                       13of
                                                          of82
                                                             16 PageID
                                                                PageID134
                                                                       13



modifications, including the financial assistance made available to Defendant by the

government pursuant to Section 44 and/or Section 190 of the IRS Code.

      35.    By continuing to maintain and/or operate the Subject Property with

discriminatory conditions in violation of the ADA, Defendant contributes to

Plaintiff’s sense of isolation and segregation and deprives Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

available to able bodied individuals of the general public.

      36.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 CFR

36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the

maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

CFR 36.401, then the Defendant’s facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed

to comply with this mandate.




                                                                            Page 13 of 16

                                       APP. 73
  Case
  Case3:22-cv-00365-D
       3:22-cv-00355-G Document
                       Document91 Filed
                                   Filed04/08/22
                                         02/12/22 Page
                                                  Page74
                                                       14of
                                                          of82
                                                             16 PageID
                                                                PageID135
                                                                       14



      37.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant, 1850 MOCKINGBIRD, LLC, is required to remove the

physical barriers, dangerous conditions and ADA violations that exist at the Subject

Property, including those alleged herein. Considering the balance of hardships

between the Plaintiff and Defendant, a remedy in equity is warranted.

      38.    Plaintiff’s requested relief serves the public interest.

      39.    Plaintiff’s counsel is entitled to recover its reasonable attorneys’ fees

and costs of litigation from Defendant, 1850 MOCKINGBIRD, LLC, pursuant to 42

U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff will be denied full and equal

access to the subject premises, as provided by the ADA unless the injunctive relief

requested herein is granted.

      40.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendant to fulfill its continuing duty to

maintain the accessible features at the premises in the future as mandated by 28 CFR

36.211.

      WHEREFORE, the Plaintiff prays as follows:


                                                                                Page 14 of 16

                                         APP. 74
Case
Case3:22-cv-00365-D
     3:22-cv-00355-G Document
                     Document91 Filed
                                 Filed04/08/22
                                       02/12/22 Page
                                                Page75
                                                     15of
                                                        of82
                                                           16 PageID
                                                              PageID136
                                                                     15



   A.    That the Court find Defendant, 1850 MOCKINGBIRD,
         LLC, in violation of the ADA and ADAAG;

   B.    That the Court enter an Order requiring Defendant, 1850
         MOCKINGBIRD, LLC, to (i) remove the physical
         barriers to access and (ii) alter the Subject Property to
         make the Subject Property readily accessible to and
         useable by individuals with disabilities to the full extent
         required by Title III of the ADA;

   C.    That the Court enter an Order directing Defendant,
         pursuant to 28 C.F.R. §36.211, to fulfill its continuing duty
         to maintain its accessible features and equipment so that
         the facility remains accessible to and useable by
         individuals with disabilities to the full extent required by
         Title III of the ADA;

   D.    That the Court enter an Order directing Defendant to
         implement and carry out effective policies, practices, and
         procedures to maintain the accessible features and
         equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
         §36.211.

   E.    That the Court enter an Order directing Defendant to
         evaluate and neutralize its policies and procedures towards
         persons with disabilities for such reasonable time so as to
         allow them to undertake and complete corrective
         procedures;

   F.    An award of attorneys’ fees, costs (including expert fees),
         and litigation expenses pursuant to 42 U.S.C. § 12205 and
         an award of monitoring fees associated with insuring that
         the Defendant is in compliance with the ADA.

   G.    An award of interest upon the original sums of said award
         of attorney’s fees, costs (including expert fees), and other
         expenses of suit; and

   H.    Such other relief as the Court deems just and proper,
         and/or is allowable under Title III of the Americans with
                                                                         Page 15 of 16

                                   APP. 75
  Case
  Case3:22-cv-00365-D
       3:22-cv-00355-G Document
                       Document91 Filed
                                   Filed04/08/22
                                         02/12/22 Page
                                                  Page76
                                                       16of
                                                          of82
                                                             16 PageID
                                                                PageID137
                                                                       16



            Disabilities Act.




Dated this the 12th day of February, 2022.


                                      Respectfully submitted,


                                     By:/s/ Duncan Strickland
                                     Duncan Strickland
                                     Counsel for Plaintiff
                                     State Bar No.: 24072374
                                     1452 Hughes Road, #200
                                     Grapevine, Texas 76051
                                     Telephone: (214) 478-2753
                                     Facsimile: (832) 218-4317
                                     E-mail: Duncan@StricklandLawFirm.com


DEFENDANT TO BE SERVED:
1850 MOCKINGBIRD, LLC.
C/O LAWRENCE MOSER
4427 Glenwick Lane
Dallas, TX 75205




                                                                   Page 16 of 16

                                      APP. 76
JS 44 (Rev. 09/19)
                      Case
                       Case3:22-cv-00365-D    CIVIL COVER
                            3:22-cv-00355-G Document
                                             Document91-1Filed  SHEET
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                                                               04/08/22
                                                                  02/12/22Page
                                                                            Page
                                                                               77 1ofof822 PageID
                                                                                           PageID 138
                                                                                                  17
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
SHANE CRIDER                                                                                                CP FUELS INC.

    (b) County of Residence of First Listed Plaintiff             Dallas                                      County of Residence of First Listed Defendant             Dallas
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Strickland Law Firm, PLLC
20333 State Hwy 249, #200
Houston, TX 77070

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF        DEF                                          PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1        ’ 1      Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)                     (15 USC 1681 or 1692)
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 485 Telephone Consumer
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Protection Act
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 490 Cable/Sat TV
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 850 Securities/Commodities/
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                                   Exchange
                                             Medical Malpractice                                            Leave Act                                                     ’ 890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS              ’ 891 Agricultural Acts
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 893 Environmental Matters
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 895 Freedom of Information
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609               ’ 896 Arbitration
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 899 Administrative Procedure
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          Act/Review or Appeal of
                                             Employment                 Other:                       ’ 462 Naturalization Application                                           Agency Decision
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration                                              ’ 950 Constitutionality of
                                             Other                    ’ 550 Civil Rights                   Actions                                                              State Statutes
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          42 USC 12101
VI. CAUSE OF ACTION Brief description of cause:
                                          Unlawful barriers to entry as defined by the American Disabilities Act
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER 21-CV-1765
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
07/29/2021                                                              /s/ Duncan Strickland
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP        APP. 77                       JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
JS 44 Reverse (Rev. 09/19)
                    Case
                     Case3:22-cv-00365-D
                          3:22-cv-00355-G Document
                                           Document91-1Filed
                                                          Filed
                                                             04/08/22
                                                                02/12/22Page
                                                                          Page
                                                                             78 2ofof822 PageID
                                                                                         PageID 139
                                                                                                18
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




                                                                           APP. 78
     Case
      Case3:22-cv-00365-D
           3:22-cv-00355-G Document
                            Document91-2Filed
                                           Filed
                                              04/08/22
                                                 02/12/22Page
                                                           Page
                                                              79 1ofof822 PageID
                                                                          PageID 140
                                                                                 19



                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS


Shane Crider
Plaintiff
v.                                                                 3:22-cv-355
                                                               Civil Action No.
1850 Mockingbird, LLC
 Defendant


                        CERTIFICATE OF INTERESTED PERSONS
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,



Duncan Strickland – Strickland Law Firm, PLLC

provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.



Duncan Strickland – Strickland Law Firm, PLLC



        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.

J. Luke Sanderson
208 Adams Avenue
Memphis, TN 38103

B.J. Wade
208 Adams Avenue
Memphis, TN 38103



                                                APP. 79
               Case
                Case3:22-cv-00365-D
                     3:22-cv-00355-G Document
                                      Document91-2Filed
                                                     Filed
                                                        04/08/22
                                                           02/12/22Page
                                                                     Page
                                                                        80 2ofof822 PageID
                                                                                    PageID 141
                                                                                           20



                                                   2/12/2022

                                                   /s/ Duncan Strickland
                                                   Duncan Strickland
                                                   State Bar No.: 24072374
                                                   20333 State Hwy 249, #200
                                                   Houston, Texas 77070
                                                   Telephone: (713) 588-0388
                                                   Facsimile: (832) 218-4317
                                                   E-mail: Duncan@TexasLandLordAttorney.com




NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil/Other
Documents/Certificate of Interested Persons




                                                              APP. 80
            Case
             Case3:22-cv-00365-D
                  3:22-cv-00355-G Document
                                   Document91-3Filed
                                                  Filed
                                                     04/08/22
                                                        02/12/22Page
                                                                  Page
                                                                     81 1ofof822 PageID
                                                                                 PageID 142
                                                                                        21
AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       NorthernDistrict
                                                   __________   Districtofof__________
                                                                             Texas

                                                                     )
                                                                     )
                       SHANE CRIDER                                  )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
                                                                     )
                                                                     )
                       CP FUELS INC.                                 )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CP FUELS INC.
                                           C/O Sridhar Kommaraju
                                           2747 Dames Lane
                                           Irving, TX 75063




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Duncan Strickland
                                           Strickland Law Firm, PLLC
                                           20333 State Hwy 249, #200
                                           Houston, TX 77070


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             07/29/2021
                                                                                          Signature of Clerk or Deputy Clerk




                                                                APP. 81
             Case
              Case3:22-cv-00365-D
                   3:22-cv-00355-G Document
                                    Document91-3Filed
                                                   Filed
                                                      04/08/22
                                                         02/12/22Page
                                                                   Page
                                                                      82 2ofof822 PageID
                                                                                  PageID 143
                                                                                         22
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                           .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                        , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                  for services, for a total of $          0              .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




                                                                      APP. 82
           Print                       Save As...                                                                      Reset
